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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                       MONROE DIVISION


  UNITED STATES OF AMERICA                                     CASE NO. 3:14-CR-00065-02

  VERSUS                                                       JUDGE ROBERT G. JAMES

  ANTHONY SEGURA (02)                                          MAG. JUDGE KAYLA MCCLUSKY


                                          DISMISSAL ORDER

          On or about April 6, 2021, Anthony Segura filed a pro se motion for “Reduction in

  Sentence Under 18 U.S.C. § 3582(c)(2).” 1 Although Segura did not invoke 28 U.S.C. § 2255 as

  the jurisdictional basis for his claims, the motion challenged his 2014 conviction and sentence for

  kidnapping. 2 Because Segura attacked his conviction and sentence for kidnapping 3, the Court

  determined it should construe the filing as a motion to vacate, set aside or correct a sentence under

  28 U.S.C. § 2255. 4 The Court therefore warned Segura of the consequences of the

  recharacterization of his motion. 5 The Court then ordered Segura to take one of two actions within

  ninety (90) days of issuance of its Order 6: (1) withdraw his motion, or (2) amend and resubmit his

  motion on the approved form so that it contained all grounds for relief. 7 The Court further warned

  Segura that his failure to comply with the Order could result in dismissal of this matter. 8 More




  1
    See ECF No. 101 and 101-1.
  2
    ECF No. 101 at 2.
  3
    Segura was additionally convicted of false statements to an FBI agent. ECF No. 42. He did not attack that
  conviction in his motion.
  4
    See ECF No. 112 at 2-3.
  5
    Id. at 3 (citing Castro v. United States, 540 U.S. 375, 383 (2003).
  6
    The Order issued on July 22, 2021. See id. at 4.
  7
    Id.; see also Rule 2(c), Rules Governing Section 2255 Proceedings.
  8
    ECF No. 112 at 3.
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  than four months have now passed since issuance of the Order, and Segura has failed to respond

  in any manner.

          Under Federal Rule of Civil Procedure 41(b), a district court may dismiss an action sua

  sponte if the plaintiff fails to comply with court orders or fails to prosecute the case. Nottingham

  v. Warden, Bill Clements Unit, 837 F.3d 438, 440 (5th Cir. 2016); McCullough v. Lynaugh, 835

  F.2d 1126, 1127 (5th Cir. 1988). Such authority “flows from the court’s inherent power to control

  its docket and prevent undue delays in the disposition of pending cases.” Boudwin v. Graystone

  Ins. Co., Ltd., 756 F.2d 399, 401 (5th Cir. 1985) (citing Link v. Wabash R. Co., 370 U.S. 626, 630-

  31 (1962)). Given the fact that Segura has failed to respond to the Court’s Order, the Court

  concludes the motion should be dismissed without prejudice for failure to comply with the Court’s

  Order and for want of prosecution. 9

          Accordingly, IT IS ORDERED that Petitioner Anthony Segura’s “Motion for Reduction

  in Sentence Under 18 U.S.C. § 3582(c)(2)” [ECF No. 101] is DISMISSED WITHOUT

  PREJUDICE for failure to comply with the Court’s Order and for want of prosecution.

          SIGNED this 3rd day of December, 2021.




  9
   See Fed. R. Civ. P. 41(b) (stating an involuntary dismissal “operates as an adjudication on the merits”
  unless the dismissal order states otherwise).


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